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 1   Bruce Locke (#177787)
 2   Moss & Locke
 3   4354 Town Center Blvd., #114-59
 4   Eldorado Hills, CA 95762
 5   916-719-3194
 6   Attorneys for LeJohn Windom, Sr.
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                                  No. 2:15-cr-029 TLN
12                     Plaintiff,
13          v.                                       STIPULATION AND ORDER TO AMEND
                                                     THE SCHEDULE FOR DISCLOSURE OF
14   LEJOHN WINDOM, SR.,                             THE PRE-SENTENCE REPORT
15                     Defendant.
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17
            IT IS HEREBY STIPULATED AND AGREED between the defendant, LeJohn Windom,
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     Sr., by and through his undersigned defense counsel, and the United States of America, by and
19
     through its counsel, Assistant U.S. Attorney Matthew Morris, and with the approval of the
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     Probation Officer, that the schedule for disclosure of the Pre-Sentence Report should be amended
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     to provide as follows: the informal objections will be due to the Probation Officer on November
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     17, 2016; the final report will be provided to counsel on December 8, 2016; any motions to
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     correct the report will be filed on December 22, 2016; and the date for sentencing will be January
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     5, 2017, at 9:30 a.m.. Mr. Morris has authorized Mr. Locke to sign this pleading for him.
25
     DATED: October 20, 2016                             /s/ Bruce Locke
26                                                       BRUCE LOCKE
                                                         Attorney for LeJohn Windom, Sr.,
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 1   DATED: October 20, 2016                   /s/ Bruce Locke
                                               For MATTHEW MORRIS
 2                                             Attorney for the United States
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 7         IT IS SO ORDERED.
 8   DATED: October 20, 2016
                                              Troy L. Nunley
 9                                            United States District Judge

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